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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

Mike Duggan, Mayor of the City
of Detroit, Carrol Lockett, Haley Roell,          Case No:
Joseph Vaughn, Gladys Noble, Stephanie
Huby, Ian Davis, Jacintha Pittman                 Hon.:
and Clayton Wortmann,

      Plaintiffs,

v.

Patrick McPharlin, in his official
capacity as Director of the Michigan Department
of Insurance and Financial Services,

     Defendant.
__________________________________________________________________/

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__________________________________________________________________/

      “Michigan motorists are constitutionally entitled to have no-fault
      insurance made available on a fair and equitable basis .… [D]ue
      process, at a minimum, requires that rates are not, in fact,
      excessive, inadequate or unfairly discriminatory….”

Michigan Supreme Court, Shavers v. Kelley, 402 Mich. 554, 600-01 (1978).
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                                   COMPLAINT

      NOW COME Plaintiffs, by and through their attorneys, Fink + Associates

Law as counsel for all Plaintiffs and the City of Detroit Law Department as co-

counsel for Mayor Mike Duggan, and for their Complaint, state as follows:

                                 INTRODUCTION

      1.     Michigan’s mandatory No-Fault automobile insurance system violates

the constitutional rights of Michigan’s citizens. Once the State issues a driver’s

license, it cannot deprive a citizen of the primary benefit of the license – the ability

to drive a motor vehicle – without first providing constitutional due process.

Unfortunately, countless Michigan residents are deprived of that due process

because No-Fault insurance is not available at fair and equitable rates.

      2.     Michigan’s average annual auto insurance premium of $3,059 is more

than double the average annual premium in neighboring states: Ohio ($1,236);

Illinois ($1,158); and, Indiana ($1,365). The national average cost for auto insurance

is $1,512.

      3.     The high cost of auto insurance in Michigan puts significant economic

pressure on an already financially-strapped population. A 2016 United Way Report

found that, while 15% of Michigan households live below the Federal Poverty Level,

an additional 25% live above the poverty level but still struggle to afford basic

household needs such as housing, childcare, food and transportation.


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      4.     With so many of the State’s residents struggling financially, and the

cost of insurance premiums so high, it is no wonder that Michigan has one of the

highest rates of uninsured motorists in the country, with more than 20% of drivers

lacking coverage.

      5.     The extremely high cost of No-Fault insurance coverage in Michigan is

a statewide issue that is particularly acute in the Detroit Metropolitan area. Over 50%

of Detroit workers commute to jobs that are outside the City limits, and almost 75%

of the jobs within the City are held by workers who commute in from the suburbs.

      6.     Detroit drivers pay an average of $6,197 annually for auto insurance

coverage, a figure that is 4 times the national average. In fact, Detroit has the highest

auto insurance rates of any city in the nation.

      7.     Residents of many other Metro Detroit communities also pay exorbitant

auto insurance premiums. In Dearborn, the average annual premium is $5,135; in

Southfield, the average premium is $4,443; the average premium in Warren is

$3,446; and Roseville residents pay an average of $3,378 for auto insurance.

Residents in each of these communities pay, on average, 2 or 3 times the national

average for insurance coverage.

      8.     By contrast, the average premium in Cleveland, Ohio is $1,674; in

Chicago, Illinois, the average premium is $1,765; and, in Indianapolis, Indiana, the

average driver pays $1,538.


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      9.    Excessive insurance premiums have a catastrophic impact for many

Detroit residents. The average household income in Detroit is just over $26,000,

which is less than half the national average of $55,322. Almost 40% of the City’s

residents are living in poverty.

      10. Financial experts recommend allocating roughly 15% of a household

budget to transportation expenses. These expenses include the costs of purchasing,

financing or leasing a vehicle, costs of gas and motor oil, costs for repairs and other

vehicle expenses, and costs for alternate transportation. Between 2013 and 2016,

the average U.S. consumer spent $3,550 on vehicle purchase costs and $2,200 on

gas and motor oil expenses each year. Adding these average expenses to the

average Detroit auto insurance premium would result in $11,947 in transportation

costs. For a driver with a household income equal to the Detroit average ($26,249),

these expenses for one driver would consume over 45% of total household income,

before factoring in any public transportation costs or other vehicle related expenses.

      11. The natural consequence of the high cost of No-Fault insurance is that

Detroit area drivers are faced with a no-win situation. Many drivers who must rely

on personal automobiles for transportation are forced to make difficult cuts to other

household expenses, such as housing, food, or healthcare in order to afford their

auto insurance. Some vehicle owners are forced to give up driving because they




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 cannot legally register their vehicles, while others are forced to break the law and

 drive without insurance.

        12. According to reports, nearly half of Detroit’s drivers are uninsured. In

 2017, the Detroit Police Department issued 23,087 citations to motorists for driving

 without insurance.

      13.    The U.S. Department of Housing and Urban Development considers

any family spending more than 30% of its annual income on housing to be “cost

burdened.” Many Michigan families are “cost burdened,” not because of

unaffordable housing, but because of unfair auto insurance premiums.

      14.    No-Fault insurance has not achieved the state-wide cost savings

initially promised in the 1970s. Instead, the volume of auto accident related

litigation, which was expected to decrease under No-Fault, is out of control, bogging

down Michigan’s courts more than ever. Insurance rates, which were supposed to

decrease, have grown dramatically. Michigan is the state with the most expensive

auto insurance in the United States, and no city in the United States has auto

insurance rates as high as the rates in Detroit.

      15.    Michigan’s      mandatory         No-Fault   insurance   has    become

unconstitutionally unaffordable for several reasons, including:

      a. Michigan No-Fault coverage must include unlimited statutory personal

         injury protection (“PIP”) benefits, when the state with the second highest


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       mandatory coverage, New York, caps non-emergency medical coverage at

       $50,000;

    b. There is no fee schedule for auto accident-related medical services, such as

       the fee schedule for medical services reimbursed under Workers’

       Compensation;

    c. Medical providers are allowed to charge exorbitant fees for medical

       procedures and services normally priced at a fraction of No-Fault rates;

    d. Insurance companies are not permitted to create closed medical benefit

       networks with physicians who would agree to reduced fees for various

       medical services;

    e. There are no effective protections against those auto accident attorneys who

       encourage over-treatment and who pursue large PIP recoveries for minor

       injuries;

    f. There are no meaningful limitations on attendant care coverage, with non-

       professional providers allowed to charge high hourly rates and to provide

       unnecessary “services” 24 hours a day;

    g. There are few protections against health care, attendant care and

       transportation providers who provide unnecessary and over-priced

       services.




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      16.     The No-Fault Act has failed Michigan residents at every turn. This

lawsuit seeks a declaration that the law is unconstitutional. The State should be given

6 months to repair the automobile insurance scheme. If that deadline is not met, the

No-Fault Act should be deemed null and void and the tort system should be

reinstated.

                           NATURE OF THE ACTION

      17.     This is an action seeking a declaration that the Michigan No-Fault

Insurance Act (the “No-Fault Act”), M.C.L. § 500.3101 et seq., is unconstitutional

in its current form and in its application under the U.S. and Michigan Constitutions.

      18.     Michigan, like most states, requires vehicle owners to obtain insurance

prior to registering or operating their vehicles. Driving without insurance is a

misdemeanor with penalties of up to 1-year imprisonment.

      19.     With mandatory no-fault insurance, people who are injured recover

their losses from their own insurance company.

      20.     In the 1970s, when many states experimented with the no-fault concept,

proponents believed it would reduce automobile insurance costs. Unfortunately,

those states soon discovered that the promised cost savings did not materialize.

Instead, premiums increased. That has been Michigan’s experience.

      21.     After Michigan adopted the No-Fault Act in 1972, the Michigan

Supreme Court ruled that because the State chose to make no-fault insurance


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compulsory for all motorists, the State must ensure that coverage is available at fair

and equitable rates.

      22.    If insurance rates become excessive, unfair or inequitable, the No-Fault

law becomes unconstitutional.

      23.    It is indisputable that Michigan’s insurance rates have become

unconstitutionally excessive, unfair, and inequitable. Michigan residents universally

pay more for auto insurance than do residents of any other state.

      24.    The problem is worse in the City of Detroit and other urban areas.

Detroit residents pay, on average, $6,197 annually, including collision and

comprehensive coverage.

      25.    A significant number of Michigan car owners cannot afford to purchase

auto insurance, preventing them from pursuing employment and educational

opportunities, traveling freely, shopping for groceries, taking their children to school

or child care, visiting friends and family, patronizing local businesses, or otherwise

attending to the numerous things made possible by driving a motor vehicle.

                                      PARTIES

      26.    Plaintiff Mike Duggan is a resident of the City of Detroit, County of

Wayne, and a citizen of the State of Michigan. He is also the elected Mayor of the

City of Detroit. Mayor Duggan joins the other Plaintiffs in this lawsuit to protect the

rights of all Detroit residents who are being charged excessive, unfair and


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inequitable premiums, and to obtain a declaration that the No-Fault Act is

unconstitutional.

      27.    Plaintiff Carrol Lockett is a resident of the City of Oak Park, County of

Oakland, and a citizen of the State of Michigan. Ms. Lockett, age 69, volunteers at

her local church and at a large community activities center, where she operates the

neighborhood hotline. Ms. Lockett pays an insurance premium of $329 per month,

including collision and comprehensive coverage. She has not been involved in an

auto accident in over 20 years, has a clean driving record and only drives 10-15 miles

daily, yet her auto insurance payment is almost as much as her car payment,

comprising nearly 15% of her monthly income. Ms. Lockett has periodically had to

give up driving because she could not afford insurance.

      28.    Plaintiff Haley Roell is a resident of the City of Ann Arbor, County of

Washtenaw, and a citizen of the State of Michigan. Ms. Roell, age 20, is a senior at

the University of Michigan, where she also works as a student research assistant.

Recently, Ms. Roell, who has never received a ticket or been in an auto accident,

was required to pay more than $400 per month for car insurance. She was unable to

meet her monthly payments and was forced to periodically forgo driving when her

insurance coverage lapsed. As of the date of this Complaint, Ms. Roell’s temporary

research assistant position allows her to obtain low-cost insurance. Thus, she is




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currently able to use her car, but, when her short-term employment ends, she will,

once again, face unaffordable insurance rates.

      29.    Plaintiff Joseph Vaughn is a resident of the City of Detroit, County of

Wayne, and a citizen of the State of Michigan. Mr. Vaughn, age 53, owns several

businesses and is heavily involved in community service, including serving as a

Detroit Police Department reservist, volunteering as a mentor in the Man to Man

mentorship program, and coordinating a mentorship program through Detroit

Mumford High School. Mr. Vaughn is currently uninsured because he cannot afford

the cost of No-Fault insurance. He was recently quoted a price of $4,000 for six

months of insurance coverage, a total that equates to 15% of his income, even though

he has never had a ticket or been in an auto accident.

      30.    Plaintiff Gladys “Peggy” Noble is a resident of the City of Detroit,

County of Wayne, and a citizen of the State of Michigan. Ms. Noble, age 76, is a

retired social worker who obtained her Master’s Degree in Social Work at the age

of 65. An active member of her community, Ms. Noble serves as president of her

neighborhood community association and as a mentor to young mothers. She has

periodically had to forego driving because she could not afford to pay for both auto

insurance and basic necessities such as food and medication. Her car insurance

payment is over $210 each month, for basic coverage without collision and

comprehensive. This is almost 20% of her monthly income. Ms. Noble has had a


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spotless driving record for 60 years, and she drives a 16-year old vehicle.

      31.    Plaintiff Stephanie Huby is a resident of the City of Eastpointe, County

of Macomb, and a citizen of the State of Michigan. Ms. Huby, age 49, has been

employed by the same employer for more than 18 years. Ms. Huby has a perfect

driving record, yet she pays $250 per month for automobile insurance. Ms. Huby’s

monthly insurance payment, which is more than twice the national average, is also

more expensive than the monthly lease payment on her vehicle. In the past, Ms.

Huby has been forced to let her insurance coverage lapse because she could not

afford the monthly payments.

      32.    Plaintiff Ian Davis is a resident of the City of Oak Park, County of

Oakland, and a citizen of the State of Michigan. Mr. Davis, age 27, is employed by

a non-profit organization focusing on low income senior housing. Mr. Davis has

never been involved in an auto accident, and he has not received a traffic ticket in

nearly five years. He drives a 2012 Honda Civic and pays nearly $2,400 annually

for insurance coverage.

      33.    Plaintiff Jacintha Pittman is a resident of the Village of New Haven,

County of Macomb, and a citizen of the State of Michigan. Mrs. Pittman, age 39, is

employed as an esthetician. Mrs. Pittman drives a 2008 Saturn Vue. She has never

been in an auto accident and does not have a single moving violation on her traffic

record. However, as of September 1, 2018, her insurance premium will be $325 per


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month.

      34.    Plaintiff Clayton “Clay” Wortmann, is a resident of the City of Detroit,

County of Wayne, and a citizen of the State of Michigan. Mr. Wortmann, age 25,

works as a tutor for high school students and as a respite care provider for people

with special needs. He also volunteers with Auntie Na’s House, a community

outreach center that provides support to low-income families in Detroit. He drives a

2015 Chevrolet Cruze and has never received a traffic ticket. Mr. Wortmann’s

monthly insurance premium is $280, more than twice the national average.

      35.    Defendant Patrick McPharlin is the Director of Michigan’s Department

of Insurance and Financial Services, which is charged with the regulation and

enforcement of Michigan’s No-Fault insurance system. He is being sued solely in

his official capacity.

                         JURISDICTION AND VENUE

      36.    This matter arises under the constitutions and laws of the United States

and the State of Michigan.

      37.    Jurisdiction is proper in this Court pursuant to Article III of the United

States Constitution, 28 U.S.C. § 1331, 28 U.S.C. § 2201 and 42 U.S.C. § 1983.

      38.    Venue is proper in the Eastern District of Michigan, Southern Division,

because Plaintiffs are residents of counties in this District and the action is being

pursued against the Director of the Michigan Department of Insurance and Financial


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Services.

      39.    Plaintiffs seek a declaratory judgment pursuant to the Declaratory

Judgment Act, 28 U.S.C. § 2201 et seq.

      40.    Plaintiffs do not have an adequate remedy in state court. The Michigan

Court of Claims has exclusive jurisdiction over all claims brought against the State,

including federal or state statutory or constitutional claims. M.C.L. § 600.6419(1).

However, a claimant is not permitted to file a claim against the State in the Court of

Claims (or any other Michigan state court) if, as here, the claimant has an adequate

remedy in the federal courts. M.C.L. § 600.6440.

                           GENERAL ALLEGATIONS

                    The Enactment of the No-Fault Act
  and the Seminal Michigan Supreme Court Opinion on its Constitutionality
      41.    The No-Fault Act was enacted in October of 1973. Michigan was

among 19 states that adopted no-fault insurance by 1976, after which no additional

state chose to do so.

      42.    The preamble to the Michigan Insurance Code of 1956 states the law is

intended “to provide for the continued availability and affordability of automobile

insurance … in this state and to facilitate the purchase of that insurance by all

residents of this state at fair and reasonable rates ….”

      43.    The No-Fault Act, like the no-fault laws adopted in other states, was

intended to provide victims of automobile accidents with faster and more adequate

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compensation than was offered under the previous common law tort system. The

No-Fault Act abandoned the common law fault determination, eliminating the right

to sue the responsible party in most motor vehicle accidents, but allowing accident

victims to seek compensation through their own insurance companies. This was

expected to decrease premium costs and lessen litigation costs statewide.

      44.    The constitutionality of the No-Fault Act was addressed in 1978 by the

Michigan Supreme Court in Shavers v. Kelley, 402 Mich. 554 (1978) (“Shavers”).

The Shavers decision set forth the test for determining the constitutionality of the

No-Fault Act.

      45.    First, the Supreme Court upheld the concept of no-fault insurance,

because insurance protects “not only the driver of a motor vehicle, but also

passengers, pedestrians, owners of fixed property, and owners of properly parked

vehicles.” Shavers at 596. Thus, “those who use the public highways may properly

be required to provide security for loss that may predictably be suffered by others

on account of such use ….” Shavers at 596-97.

      46.    The Court then analyzed whether the law contained adequate

constitutional protections. The Court stated, “the concepts of liberty and property

protected by due process are not to be defined in a narrow or technical sense but are

to be given broad application.” Shavers at 598 (citations and internal punctuation

omitted). “The existence of interests or benefits entitled to due process protection


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depends on the extent to which government activity has fostered citizen dependency

and reliance on the activity.” Shavers at 598. “It is a purpose of the ancient institution

of property to protect those claims upon which people rely in their daily lives,

reliance that must not be arbitrarily undermined.” Shavers at 598 (citing, among

other things, the U.S. Supreme Court case of Board of Regents v. Roth, 408 U.S.

564, 577 (1972)).

      47.    In Shavers, the Michigan Supreme Court recognized the critical

importance of the automobile to transportation in the State. “In Michigan the

independent mobility provided by an automobile is a crucial, practical necessity; it

is undeniable that whether or not a person can obtain a driver’s license or register

and operate his motor vehicle profoundly affects important aspects of his day-to-day

life.” Shavers at 598.

      48.    Of paramount importance, a “driver’s license, once issued, is a

significant interest subject to constitutional due process protections.” Shavers at 599

(citation omitted). The Court stated:

      Although the compulsory insurance requirement of the No-Fault Act
      does not directly affect the issuance of a driver’s license, it directly
      affects the use of such a license: a licensee may not register or operate
      a motor vehicle in Michigan without no-fault insurance. A driver’s
      license is, clearly, of little use unless a licensee can register and operate
      a motor vehicle. We believe that the interest in registering and operating
      a motor vehicle is as significant as the interest in the use of a driver’s
      license.

      In choosing to make no-fault insurance compulsory for all motorists,
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      the Legislature has made the registration and operation of a motor
      vehicle inexorably dependent on whether no-fault insurance is available
      at fair and equitable rates. Consequently due process protections under
      the Michigan and United States Constitutions (Const.1963, art. 1, s 17;
      U.S. Const. Am. XIV) are operative.
Shavers at 599.
      49.    Furthermore, the Supreme Court held that the No-Fault Act “fostered

the expectation that no-fault insurance will be available at fair and equitable rates,”

because the Act “states that Rates shall not be excessive, inadequate or unfairly

discriminatory” and because it “provides the guarantee that no-fault insurance

coverage will be available to any person who is unable to procure such insurance

through ordinary methods.” Shavers at 599. (citations to statutes omitted).

      50.    The Court then stated “[w]e therefore conclude that Michigan motorists

are constitutionally entitled to have no-fault insurance made available on a fair and

equitable basis.” Shavers at 600.

      51.    Having found that the “availability of no-fault insurance and the no-

fault insurance rate regulatory scheme” are “subject to due process scrutiny,” the

Supreme Court then examined the law to determine whether it satisfied that scrutiny

by ensuring that Michigan motorists would have no-fault insurance available to them

on a fair and equitable basis. Shavers at 600.

      52.    The Court gave clear guidance regarding the minimum requirements of

due process: “due process, at a minimum, requires that rates are not, in fact,


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excessive, inadequate or unfairly discriminatory …” Shavers at 601 (citations

omitted).

      53.    The Supreme Court held that the law did not provide adequate

mechanisms to ensure that no-fault insurance would be available on a fair and

equitable basis. Shavers at 580. Simply put, the law was “inadequate to protect

individual motorists, who must purchase no-fault insurance from private insurers,

from potentially unfair insurance rates, insurance refusal or cancellation.” Shavers

at 580.

      54.    The Supreme Court thus came to the inevitable conclusion that while

the No-Fault Act was generally constitutional, it was rendered unconstitutional by

its failure to ensure that rates would be fair and equitable. The Court stated:

      [t]he constitutional status of the No-Fault Act places this Court in an
      extraordinary jurisprudential position: the No-Fault Act, which has
      substantially affected every Michigan motorist, every insurance
      company underwriting motor vehicle insurance in Michigan, and our
      entire system of civil justice for nearly five years, is constitutional in its
      general thrust but unconstitutionally deficient in its mechanisms for
      assuring that compulsory no-fault insurance is available to Michigan
      motorists at fair and equitable rates.

Shavers at 581.
      55.    Despite finding the No-Fault Act unconstitutional, the Supreme Court

did not strike down the law. Instead, the State Legislature and the Governor were

given 18 months to correct the constitutional deficiencies.

      56.    In response to the Shavers decision, the State Legislature passed the

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Essential Insurance Act (“EIA”) of 1979.

      57.    The EIA contained various provisions that were supposed to address

the Supreme Court’s decision that the law lacked genuine mechanisms to ensure that

rates would be fair and equitable.

      58.    In 1982, the Michigan Supreme Court entered an order regarding the

constitutionality of the No-Fault Act, subsequent to the legislative “fixes” in the EIA.

The Order read, in its entirety:

      [o]n order of the Court, the opinion in Shavers [], subsequent legislation
      [the EIA], the briefs of the parties, the oral argument in this Court, and
      the opinion of the Wayne Circuit Court after our November 21, 1979,
      order of remand are considered. Because there has been no further
      claim that this act, as recently amended, is unconstitutional, we decline
      to so hold. However, this order should not be construed as
      foreclosing future attacks on the constitutionality of the act based
      upon the concerns expressed in our opinion.
Shavers v. Attorney Gen of State, 412 Mich. 1105 (1982) (citations to EIA omitted;

emphasis added).

      59.    Importantly, the Supreme Court never evaluated the question of

whether the 1979 EIA statutory changes corrected the constitutional deficiencies of

the No-Fault Act, because, at the time, there was no further challenge to the law.

      60.    Instead of addressing the constitutionality of the No-Fault Act, with the

statutory changes in the EIA, the Supreme Court explicitly held that it was not

foreclosing future challenges to the No-Fault Act based on the deficiencies identified

in the earlier Opinion.

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      61.    Subsequent to the Supreme Court’s decision not to further review the

constitutionality of the No-Fault Act, the State repealed certain EIA provisions,

which had been adopted in response to the first Shavers decision.

                No-Fault Rates Are Unconstitutionally Excessive

      62.    The no-fault experiment has failed. Currently, only 12 states continue

to have no-fault laws. Most of those states have substantially modified their statutes.

Even with those modifications, on average, rates are significantly higher in no-fault

states. The states that completely abandoned no-fault have experienced substantial

decreases in premiums.

      63.    Michigan’s No-Fault law has failed, by a wide margin, to achieve one

of its central goals, a reduction in the volume of litigation. Auto accident related

litigation in the State has skyrocketed. Prior to enactment of the No-Fault Act,

automobile personal injury cases accounted for a relatively small percentage of all

civil litigation in Michigan. Today, auto accident litigation accounts for over 40%

of the civil litigation filed in the State. The percentage is even higher in Wayne and

Macomb County.

      64.    It has been reported that the average costs claimed per accident victim

in Michigan is more than 5 times higher than the next highest state, even though

there is no evidence that injuries incurred by Michigan accident victims are more

severe than injuries incurred anywhere else.


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      65.    Of constitutional import, automobile insurance rates charged to or

offered to the Plaintiffs and others throughout the State, are excessive, unfair and

inequitable. For far too many Michigan residents, the rates are simply unaffordable.

      66.    Michigan auto insurance premiums are the highest in the nation, with

Michigan car owners paying well above the national average.

      67.    The numbers are worse in the City of Detroit and other urban areas,

where the average auto insurance premiums are far higher than the national average

and significantly higher than the State average.

      68.    According to the Federal Insurance Office, the average U.S. household

spends approximately 2% of its annual income on personal auto insurance.

      69.    A 2017 study by the Federal Insurance Office measured auto insurance

affordability in zip codes where the majority of residents were “traditionally

underserved communities and consumers, minorities, and low-and moderate-income

persons.” The study presumed that auto insurance was unaffordable in any zip code

where the average insurance premium exceeded 2% of average annual income.

      70.    Many Michigan motorists are forced to pay premiums that exceed 15-

20% of their annual income.

      71.    Using the Federal Insurance Office standard, auto insurance is

unaffordable in every zip code located within the City of Detroit.

      72.    In fact, it has been reported that all of the nation’s 25 priciest auto


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insurance zip codes are in the City of Detroit.

      73.     The cost of insurance policies available to Michigan motorists and to

the Plaintiffs in this lawsuit is excessive, unfair and inequitable.

      74.     Shortly before this lawsuit was filed, rate quotes were obtained for a

driver in Northwest Detroit. Coverage was for a 2010 Chevrolet Equinox driven

15,000 miles per year for work commute and pleasure, in a single-driver household,

with basic coverage and without collision and comprehensive coverage. The quotes

obtained for a one-year policy were:

              Insurance Company A                    Annual Premium
        Bodily Injury Liability                                         $266
        Property Damage Liability                                        $28
        Property Protection                                              $74
        Personal Injury Protection                                     $3,046
       Uninsured Motorist                                               $120
       Fees                                                             $226
       Total                                                           $3,760




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              Insurance Company B                  Annual Premium
       Bodily Injury Liability                                       $708
       Property Damage Liability                                      $48
       Property Protection                                            $54
       Personal Injury Protection                                  $2,853
       Uninsured Motorist                                             $98
       Fees                                                          $120
       Total                                                       $3,881

      75.     The harm caused by unfair and inequitable insurance rates is

significant. Because insurance coverage is not available at fair, equitable and

affordable rates, many people are forced to break the law and risk criminal

prosecution. They also face potentially crippling economic loss because in the event

of an accident, they receive no insurance benefits, and they forfeit the right to sue

responsible parties.

      76.     The fact that so many drivers are forced to drive without insurance

further exacerbates the problem, causing premiums to increase even more.

      77.     It is common for many people to purchase insurance policies for

approximately $250-$275 that are only effective for one week, so that they can

register a vehicle or retrieve it from an impound lot. Those people then drive

uninsured during most of the year. One insurance company that sells these policies

currently has over 70 locations in the Detroit area.



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                      Reasons for Excessive Insurance Costs

      78.    There are many popular myths and false assumptions regarding the

reason for the high cost of insurance in Michigan.

      79.    The most common misconception is that rates are higher in urban areas,

or even statewide, because of auto theft. In fact, theft comprises, on average,

approximately 18% of a premium with comprehensive coverage. Moreover, that

amount is not included in the premium for a basic no-fault policy.

      80.    Michigan Auto Theft Prevention Authority statistics show that vehicle

theft in Michigan dropped 70% between 1986 and 2015. During that time, the cost

of comprehensive coverage dropped, but, because of the No-Fault law, the cost of

statutorily-mandated coverages went up. In fact, Michigan insurance rates increased

dramatically as vehicle theft decreased dramatically.

      81.    Another misconception is that premiums are higher because of higher

collision rates. However, in June 2017, one national study reported that Metro

Detroit drivers were the best drivers out of the nation’s 75 largest metropolitan areas.

The authors noted that Metro Detroit had the lowest accident rate out of all 75 areas

reviewed.

      82.    Experts agree that the largest contributor to the cost of Michigan’s no-

fault insurance is first-party personal injury protection coverage and the lawsuits

related to those PIP benefits.


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      83.    Michigan’s No-Fault law is unique. Michigan is the only state that

mandates unlimited PIP medical and attendant care benefits. New York offers the

second most comprehensive No-Fault medical coverage, with non-emergency

medical benefits capped at $50,000.

      84.    A Detroit Free Press investigation found that the “number of lawsuits

generally filed by motorists and passengers in accidents who are seeking benefits

from their own auto insurance companies … have nearly quadrupled in Wayne

County since 2004, even as accidents have dropped.”

      85.    Michigan’s No-Fault Act has created a system where certain lawyers

and doctors prosper from enormous, unwarranted fees. A small number of lawyers

and medical providers aggressively solicit accident victims and encourage them to

seek unnecessary treatment.

      86.    Some attorneys work with their clients and certain doctors or

chiropractors to maximize the amount of treatment provided, seeking to make

injuries appear more significant for third party claims, while increasing the potential

PIP benefit recovery. Attorneys often collect as much as one-third of the No-Fault

expenses.

      87.    Some medical providers will “treat” people who were not injured, will

over-treat others, and will provide unnecessary treatments (such as unneeded

imaging scans).


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      88.    The high cost of PIP coverage is also caused by, and exacerbated by,

the absence of substantive, statutory restrictions on the fees that medical providers

can charge for treatment and services.

      89.    The absence of a fee schedule, such as the fee schedule used for

Workers’ Compensation benefits, means that for many common procedures, medical

providers charge insurance companies two to five times more than the rates charged

for the same procedures to Medicare.

      90.    As reported by the Detroit Free Press “[s]ome MRI centers that appear

frequently in no-fault lawsuits in metro Detroit charge as much as $5,300 for an MRI

that would cost less than $1,000 at other facilities or about $500 under Medicare.”

The investigation also found that people are steered to such facilities by some

lawyers and medical providers.

      91.    The escalating costs are severe. PIP coverage accounted for roughly

20% of the cost of automobile insurance premiums in Michigan in 2000. By 2013,

those benefits accounted for approximately 50% of the cost of premiums.

      92.    According to an analysis of data reported by the National Association

of Insurance Commissioners, the average cost of medical treatment in Michigan

under no-fault tripled from 2000 to 2013. This increase outpaced healthcare inflation

by almost 90%.

      93.    While medical expenses are a key cause of skyrocketing PIP costs,


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other elements of No-Fault coverage also contribute.

      94.    Michigan’s PIP coverage includes household replacement services,

attendant care, wage loss and medical transportation costs, in addition to coverage

for all reasonably necessary medical expenses. Some medical doctors will routinely

declare accident “victims” disabled for months after even minor accidents, which,

as reported by the Detroit Free Press, provides “an opportunity for relatives or

friends to get paid hundreds of dollars a week” for attendant care.

      95.    The law limits expenses for replacement services and wage loss, but the

lack of restrictions on attendant care and transportation services invites abuse,

driving up the cost of No-Fault coverage.

      96.    Attendant care benefits allow accident victims to have in-home

assistance for services such as safety monitoring, bathing, administering medicine

and other personal tasks associated with daily living. Many accident victims “hire”

family members or close friends to provide these attendant care services. There is

little to prevent people from charging insurance companies for care that is not

actually needed or care that is not being provided. In the Detroit Free Press

investigation, some caregivers were found to have charged insurance companies for

24-hour attendant care or charged for care provided at times where the accident

victims were observed grocery shopping or driving unattended. As with other No-

Fault benefits, some attorneys will take 33% of the attendant care costs, even for


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care provided prior to a lawsuit being filed.

      97.    Michigan’s No-Fault Act lacks measures to protect against fraud, such

as requiring that caregivers be trained, certified or qualified in any way.

Additionally, the No-Fault Act sets no limit on the hourly amount that can be charged

for 24-hour a day attendant care.

      98.    The No-Fault Act lacks reasonable restrictions on the rates that can be

charged to transport accident victims to medical appointments. As found in the Free

Press investigation, medical transportation services “routinely charge auto insurance

companies $100 to almost $200 a day to shuttle no-fault patients to and from a single

medical appointment — even one just 2 miles away.” Quite often, the transportation

is in a standard shuttle bus or car, meaning the “patient” could just as easily have

taken a taxi or a ridesharing service. One transportation company charged $100 each

way to transport an individual two miles to and from medical appointments, racking

up $3,500 in fees over several months.

              The No-Fault Act Deprives Motorists of Due Process

      99.    The net outcome of No-Fault has been a disaster. The No-Fault

insurance scheme, in its current form, is not just ill advised, it is unconstitutional.

Mandatory insurance premiums are excessive, unfair and inequitable.

      100. In order to pass constitutional muster, the No-Fault Act, or related

legislation, must ensure that coverage is available at fair and equitable rates. Rates


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may not be excessive and they may not be unfairly discriminatory.

       101. The State has refused to rein in No-Fault costs and to bring the No-Fault

Act into compliance with the constitutional mandate that rates cannot be excessive,

but must be fair and equitable.

       102. The No-Fault Act does not ensure that coverage is available at fair and

equitable rates, as is evidenced by the fact that rates are excessive, unfairly

discriminatory and neither fair nor equitable.

       103. The EIA states that “[r]ates shall not be excessive … or unfairly

discriminatory.” M.C.L. § 500.2109(1)(a). However, the statute does not adequately

ensure that those statutory requirements are met. Rather, for all practical purposes,

the language of the EIA essentially ensures that no rate could be deemed excessive

or unfairly discriminatory, no matter how excessive or discriminatory the rate

actually is.

       104. The EIA states, “a rate shall not be held to be excessive unless the rate

is unreasonably high for the insurance coverage provided and a reasonable degree

of competition does not exist for the insurance to which the rate is applicable.”

M.C.L. § 500.2109(2). This provision has as little substantial meaning as the

language in the No-Fault Act rejected by the Michigan Supreme Court, because the

EIA does not define what constitutes an “unreasonably high” rate. Even if a rate

could otherwise be considered “unreasonably high,” the rate would not be


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considered excessive if there is a reasonable degree of competition. For practical

purposes, this means that as long as there are several insurance companies in the

market, no rate can be deemed excessive.

      105. The EIA definition of an unfairly discriminatory rate has the same

deficiency. M.C.L. § 500.2109(1)(c). In order to determine whether a rate is

“unfairly discriminatory,” the rate must be compared to other rates, but this is a

meaningless test when the rate used for comparison is itself unfairly discriminatory.

      106. Ultimately, the actual rates are the best evidence that Michigan’s No-

fault insurance premiums are unconstitutional. It is undeniable that actual rates in

Michigan are excessive, unfair and inequitable.

        COUNT I - VIOLATION OF PROCEDURAL DUE PROCESS
      107. Plaintiffs repeat the preceding paragraphs as if fully alleged herein.

      108. Due process enforces rights enumerated in the United States and

Michigan Constitutions.

      109. The United States Constitution, U.S. Const., amend. XIV, and Article

I, § 17 of the Michigan Constitution of 1963 both guarantee that no state shall

deprive any person of “life, liberty, or property, without due process” of law.

      110. In Shavers, the Michigan Supreme Court unambiguously held that

Plaintiffs have a constitutionally protected property interest in the use of their

drivers’ licenses, including the registration and operation of motor vehicles.


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      111. As long as no-fault insurance is mandatory for the registration and

operation of their vehicles, Plaintiffs have a constitutional right to obtain no-fault

insurance at rates that are fair, equitable and not excessive.

      112. Defendant has failed to ensure that auto insurance is available to

Plaintiffs at non-excessive, fair and equitable rates. No-Fault rates, at the time of the

filing of this Complaint, are excessive, unfair and inequitable.

      113. As a direct and proximate result of Defendant’s conduct, Plaintiffs are

being injured by the deprivation of their rights, without procedural due process.

       COUNT II - VIOLATION OF SUBSTANTIVE DUE PROCESS
      114. Plaintiffs repeat the preceding paragraphs as if fully alleged herein.

      115. The right to substantive due process is protected under the due process

clauses of the U.S. and Michigan Constitutions.

      116. The Shavers court imposed substantive due process requirements with

respect to the No-Fault Act.

      117. Insurance rates under the No-Fault Act are excessive, unfair and

inequitable.

      118. Plaintiffs have been, and will continue to be, injured by Defendant’s

violations of Plaintiffs’ rights to substantive due process.

          COUNT III – REQUEST FOR DECLARATORY RELIEF

      119. Plaintiffs repeat the preceding paragraphs as if fully alleged herein.


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      120. There is a real and actual controversy between Plaintiffs and Defendant

regarding the constitutionality of the No-Fault Act and regarding Defendant’s acts

and practices.

      121. Plaintiffs are entitled to a declaratory judgment holding that the No-

Fault Act, as currently enacted and implemented, unconstitutionally deprives

Plaintiffs of their rights without due process.

                              PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

      1.     Declare that the No-Fault Act is unconstitutional under the U.S. and

Michigan Constitutions.

      2.     Grant the State 6 months to amend the No-Fault Act to cure all

constitutional defects and to ensure that Michigan’s automobile insurance scheme

comports with the requirements of the U.S. and Michigan Constitutions.

      3.     Order a return to the pre-existing common law tort system, if the State

is unable to cure all constitutional defects of the No-Fault Act within 6 months.

                                               Respectfully submitted,

                                               FINK + ASSOCIATES LAW

       Dated: 8/23/2018                        By: /s/ David H. Fink
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